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       phylg@potterhandy.com
 6
       Attorneys for Plaintiff
 7
 8
                         UNITED STATES DISTRICT COURT
 9
                       SOUTHERN DISTRICT OF CALIFORNIA
10
11     Chris Langer,                           Case No. '18CV2589 AJB WVG
12                Plaintiff,
                                               Complaint For Damages And
13        v.                                   Injunctive Relief For Violations
                                               Of: American’s With Disabilities
14     4426 Ingraham LLC, a California         Act; Unruh Civil Rights Act
       Limited Liability Company; and
15     Does 1-10,
16                Defendants.
17
18         Plaintiff Chris Langer complains of 4426 Ingraham LLC, a California
19   Limited Liability Company; and Does 1-10 (“Defendants”), and alleges as
20   follows:
21
22
           PARTIES:
23
       1. Plaintiff is a California resident with physical disabilities. He is a
24
     paraplegic who cannot walk and who uses a wheelchair for mobility. He has
25
     a specially equipped van with a ramp that deploys out of the passenger side of
26
     his van and he has a Disabled Person Parking Placard issued to him by the
27
     State of California.
28


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 1     2. Defendant 4426 Ingraham LLC owned the real property located at or
 2   about 4426 Ingraham Street, San Diego, California, in November 2018.
 3     3. Defendant 4426 Ingraham LLC owns the real property located at or
 4   about 4426 Ingraham Street, San Diego, California, currently.
 5     4. Plaintiff does not know the true names of Defendants, their business
 6   capacities, their ownership connection to the property and business, or their
 7   relative responsibilities in causing the access violations herein complained of,
 8   and alleges a joint venture and common enterprise by all such Defendants.
 9   Plaintiff is informed and believes that each of the Defendants herein, including
10   Does 1 through 10, inclusive, is responsible in some capacity for the events
11   herein alleged, or is a necessary party for obtaining appropriate relief. Plaintiff
12   will seek leave to amend when the true names, capacities, connections, and
13   responsibilities of the Defendants and Does 1 through 10, inclusive, are
14   ascertained.
15
16     JURISDICTION & VENUE:
17     5. The Court has subject matter jurisdiction over the action pursuant to 28
18   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
19   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
20     6. Pursuant to supplemental jurisdiction, an attendant and related cause of
21   action, arising from the same nucleus of operative facts and arising out of the
22   same transactions, is also brought under California’s Unruh Civil Rights Act,
23   which act expressly incorporates the Americans with Disabilities Act.
24     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
25   founded on the fact that the real property which is the subject of this action is
26   located in this district and that Plaintiff's cause of action arose in this district.
27
28


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 1      FACTUAL ALLEGATIONS:
 2      8. Plaintiff went to the property to visit Ocean Café in November 2018.
 3      9. Ocean Café is a facility open to the public, a place of public
 4   accommodation, and a business establishment.
 5      10. Parking spaces are one of the facilities, privileges, and advantages
 6   specifically offered by Defendants to patrons of Ocean Café.
 7      11. Unfortunately, even though there was a parking space marked and
 8   reserved for persons with disabilities in the front parking lot serving Ocean
 9   Café during Plaintiff’s visit, the parking stall and access aisle were not level
10   with each other because there was a built up curb ramp running into the access
11   aisle.
12      12. This curb ramp caused slopes greater than 2.1%.
13      13. Additionally, the parking stall and access aisle had cross slopes and
14   running slopes greater than 2.1%.
15      14. What is more, the parking space marked and reserved for persons with
16   disabilities was in use on the day of plaintiff’s visit. As a result, the plaintiff
17   went to the back parking lot, which is also reserved for customers.
18      15. Unfortunately, there were no accessible parking spaces marked and
19   reserved for persons with disabilities in the rear parking lot on the day of
20   plaintiff’s visit.
21      16. On information and belief, plaintiff alleges that there used to be an
22   accessible parking space in the rear parking lot, however. Unfortunately, the
23   defendants have allowed the parking space to fade or get paved over.
24      17. There was a parking space marked and reserved near the back parking
25   lot but that space was reserved for the ACE hardware store. There was a sign
26   on the fence that read: “Private Assigned Parking Only.”
27      18. Currently, the parking stall and access aisle in the front parking lot
28   serving Ocean Café are not level with each other.


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 1     19. Currently, there is no compliant parking space marked and reserved for
 2   persons with disabilities in the rear parking lot that serves Ocean Café.
 3     20. Defendants have failed to maintain in operable working condition those
 4   features of facilities and equipment that are required to be readily accessible
 5   to and usable by persons with disabilities at the Subject Property.
 6     21. Plaintiff personally encountered these barriers.
 7     22. This inaccessible facility denied the plaintiff full and equal access and
 8   caused him difficulty, discomfort, and embarrassment.
 9     23. Paths of travel are another one of the facilities, privileges, and
10   advantages offered by Defendants to patrons of Ocean Café.
11     24. Meanwhile, and even though the plaintiff did not personally confront
12   the barrier, the walkway leading to the entrance of Ocean Café has cross slopes
13   that exceed 2.1%. This is inaccessible to wheelchair users.
14     25. Plaintiff plans to return and patronize Ocean Café but is deterred from
15   visiting until the defendants remove the barriers.
16     26. The defendants have failed to maintain in working and useable
17   conditions those features required to provide ready access to persons with
18   disabilities.
19     27. The barriers identified above are easily removed without much
20   difficulty or expense. They are the types of barriers identified by the
21   Department of Justice as presumably readily achievable to remove and, in
22   fact, these barriers are readily achievable to remove. Moreover, there are
23   numerous alternative accommodations that could be made to provide a greater
24   level of access if complete removal were not achievable.
25     28. For example, there are numerous paint/stripe companies that will come
26   and stripe level parking stall and access aisle and install proper signage on
27   rapid notice, with very modest expense, sometimes as low as $300 in full
28   compliance with federal and state access standards.


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 1     29. Plaintiff is deterred from returning and patronizing Ocean Café because
 2   of his knowledge of the barriers that exist. Plaintiff will, nonetheless, return
 3   to assess ongoing compliance with the ADA and will return to patronize
 4   Ocean Café as a customer once the barriers are removed.
 5     30. Given the obvious and blatant nature of the violations and barriers
 6   alleged herein, the plaintiff alleges, on information and belief, that there are
 7   other violations and barriers on the site that relate to his disability. Plaintiff
 8   will amend the Complaint to provide proper notice regarding the scope of this
 9   lawsuit once he conducts a site inspection. However, please be on notice that
10   the plaintiff seeks to have all barriers related to his disability remedied. See
11   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
12   encounters one barrier at a site, he can sue to have all barriers that relate to his
13   disability removed regardless of whether he personally encountered them).
14
15   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
16   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
17   Defendants.) (42 U.S.C. section 12101, et seq.)
18     31. Plaintiff re-pleads and incorporates by reference, as if fully set forth
19   again herein, the allegations contained in all prior paragraphs of this
20   complaint.
21     32. Under the ADA, it is an act of discrimination to fail to ensure that the
22   privileges, advantages, accommodations, facilities, goods and services of any
23   place of public accommodation is offered on a full and equal basis by anyone
24   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
25   § 12182(a). Discrimination is defined, inter alia, as follows:
26            a. A failure to make reasonable modifications in policies, practices,
27                or procedures, when such modifications are necessary to afford
28                goods,    services,    facilities,   privileges,    advantages,     or


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 1                 accommodations to individuals with disabilities, unless the
 2                 accommodation would work a fundamental alteration of those
 3                 services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 4              b. A failure to remove architectural barriers where such removal is
 5                 readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 6                 defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
 7                 Appendix “D.”
 8              c. A failure to make alterations in such a manner that, to the
 9                 maximum extent feasible, the altered portions of the facility are
10                 readily accessible to and usable by individuals with disabilities,
11                 including individuals who use wheelchairs or to ensure that, to
12                 the maximum extent feasible, the path of travel to the altered area
13                 and the bathrooms, telephones, and drinking fountains serving the
14                 altered area, are readily accessible to and usable by individuals
15                 with disabilities. 42 U.S.C. § 12183(a)(2).
16     33. Under the 2010 Standards, access aisles shall be at the same level as the
17   parking spaces they serve. Changes in level are not permitted. 2010 Standards
18   502.4. “Access aisle are required to be nearly level in all directions to provide
19   a surface for wheelchair transfer to and from vehicles.” 2010 Standards §
20   502.4 Advisory. Specifically, built up curb ramps are not permitted to project
21   into access aisles and parking spaces. Id. No more than a 1:48 slope is
22   permitted. 2010 Standards § 502.4.
23     34. Here, the failure to provide level parking in the front parking lot of
24   Ocean Café is a violation of the law.
25     35. Any business that provides parking spaces must provide accessible
26   parking spaces. 2010 Standards § 208. Under the 2010 Standards, one in every
27   six accessible parking spaces must be van accessible. 2010 Standards §
28   208.2.4.


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 1     36. Here, the failure to provide an accessible parking space in the rear
 2   parking lot of Ocean Café is a violation of the ADA.
 3     37. Nowhere shall the cross slope of an accessible route exceed 2.1%. 2010
 4   Standards § 403.3.
 5     38. Here, the slopes along the walkway exceeded levels allowed by law.
 6     39. The Safe Harbor provisions of the 2010 Standards are not applicable
 7   here because the conditions challenged in this lawsuit do not comply with the
 8   1991 Standards.
 9     40. A public accommodation must maintain in operable working condition
10   those features of its facilities and equipment that are required to be readily
11   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
12     41. Here, the failure to ensure that the accessible facilities were available
13   and ready to be used by the plaintiff is a violation of the law.
14     42. Given its location and options, plaintiff will continue to desire to
15   patronize Ocean Café but he has been and will continue to be discriminated
16   against due to the lack of accessible facilities and, therefore, seeks injunctive
17   relief to remove the barriers.
18
19   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH
20   CIVIL RIGHTS ACT (On behalf of Plaintiff and against all Defendants.)
21   (Cal. Civ. Code § 51-53.)
22     43. Plaintiff repleads and incorporates by reference, as if fully set forth
23   again herein, the allegations contained in all prior paragraphs of this
24   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
25   that persons with disabilities are entitled to full and equal accommodations,
26   advantages, facilities, privileges, or services in all business establishment of
27   every kind whatsoever within the jurisdiction of the State of California. Cal.
28   Civ. Code §51(b).


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 1     44. The Unruh Act provides that a violation of the ADA is a violation of
 2   the Unruh Act. Cal. Civ. Code, § 51(f).
 3     45. Defendants’ acts and omissions, as herein alleged, have violated the
 4   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of,
 5   Plaintiff’s rights to full and equal use of the accommodations, advantages,
 6   facilities, privileges, or services offered.
 7     46. Because the violation of the Unruh Civil Rights Act resulted in
 8   difficulty, discomfort or embarrassment for the plaintiff, the defendants are
 9   also each responsible for statutory damages, i.e., a civil penalty. (Civ. Code §
10   55.56(a)-(c).)
11
12          PRAYER:
13          Wherefore, Plaintiff prays that this Court award damages and provide
14   relief as follows:
15       1. For injunctive relief, compelling Defendants to comply with the
16   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
17   plaintiff is not invoking section 55 of the California Civil Code and is not
18   seeking injunctive relief under the Disabled Persons Act at all.
19       2. Damages under the Unruh Civil Rights Act, which provides for actual
20   damages and a statutory minimum of $4,000.
21       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
22   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
23   Dated: November 10, 2018           CENTER FOR DISABILITY ACCESS
24
25
                                        By:
26                                      ______________________________
27                                             Chris Carson, Esq.
                                               Attorney for plaintiff
28


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     Complaint
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I. (a) PLAINTIFFS                                                                                          DEFENDANTS
CHRIS LANGER                                                                                              4426 Ingraham LLC, a California Limited Liability Company; and
                                                                                                          Does 1-10
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  (c)$WWRUQH\V(Firm Name, Address, and Telephone Number)                                                $WWRUQH\V(If Known)
Chris Carson, Esq., SBN 280048
Center for Disability Access
9845 Erma Road, Suite 300, San Diego, CA 92131(858) 375-7385                                                                                   '18CV2589 AJB WVG
PO Box 262490, San Diego, CA 92196-2490

II. BASIS OF JURISDICTION(Place an “X” in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
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VI. CAUSE OF ACTION                      %ULHIGHVFULSWLRQRIFDXVH
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VII. REQUESTED IN     u &+(&.,)7+,6,6$CLASS ACTION                                               DEMAND $                                     &+(&.<(6RQO\LIGHPDQGHGLQFRPSODLQW
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               Case 3:18-cv-02589-AJB-WVG Document 1 Filed 11/12/18 PageID.10 Page 10 of 10
-65HYHUVH5HY


                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                 $XWKRULW\)RU&LYLO&RYHU6KHHW

7KH-6FLYLOFRYHUVKHHWDQGWKHLQIRUPDWLRQFRQWDLQHGKHUHLQQHLWKHUUHSODFHVQRUVXSSOHPHQWVWKHILOLQJVDQGVHUYLFHRISOHDGLQJRURWKHUSDSHUVDV
UHTXLUHGE\ODZH[FHSWDVSURYLGHGE\ORFDOUXOHVRIFRXUW7KLVIRUPDSSURYHGE\WKH-XGLFLDO&RQIHUHQFHRIWKH8QLWHG6WDWHVLQ6HSWHPEHULV
UHTXLUHGIRUWKHXVHRIWKH&OHUNRI&RXUWIRUWKHSXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW&RQVHTXHQWO\DFLYLOFRYHUVKHHWLVVXEPLWWHGWRWKH&OHUNRI
&RXUWIRUHDFKFLYLOFRPSODLQWILOHG7KHDWWRUQH\ILOLQJDFDVHVKRXOGFRPSOHWHWKHIRUPDVIROORZV

I.(a)    Plaintiffs-Defendants.(QWHUQDPHVODVWILUVWPLGGOHLQLWLDORISODLQWLIIDQGGHIHQGDQW,IWKHSODLQWLIIRUGHIHQGDQWLVDJRYHUQPHQWDJHQF\XVH
         RQO\WKHIXOOQDPHRUVWDQGDUGDEEUHYLDWLRQV,IWKHSODLQWLIIRUGHIHQGDQWLVDQRIILFLDOZLWKLQDJRYHUQPHQWDJHQF\LGHQWLI\ILUVWWKHDJHQF\DQG
         WKHQWKHRIILFLDOJLYLQJERWKQDPHDQGWLWOH
  (b)    County of Residence.)RUHDFKFLYLOFDVHILOHGH[FHSW86SODLQWLIIFDVHVHQWHUWKHQDPHRIWKHFRXQW\ZKHUHWKHILUVWOLVWHGSODLQWLIIUHVLGHVDWWKH
         WLPHRIILOLQJ,Q86SODLQWLIIFDVHVHQWHUWKHQDPHRIWKHFRXQW\LQZKLFKWKHILUVWOLVWHGGHIHQGDQWUHVLGHVDWWKHWLPHRIILOLQJ127(,QODQG
         FRQGHPQDWLRQFDVHVWKHFRXQW\RIUHVLGHQFHRIWKHGHIHQGDQWLVWKHORFDWLRQRIWKHWUDFWRIODQGLQYROYHG
  (c)    Attorneys.(QWHUWKHILUPQDPHDGGUHVVWHOHSKRQHQXPEHUDQGDWWRUQH\RIUHFRUG,IWKHUHDUHVHYHUDODWWRUQH\VOLVWWKHPRQDQDWWDFKPHQWQRWLQJ
         LQWKLVVHFWLRQVHHDWWDFKPHQW

II.      Jurisdiction.7KHEDVLVRIMXULVGLFWLRQLVVHWIRUWKXQGHU5XOHD)5&Y3ZKLFKUHTXLUHVWKDWMXULVGLFWLRQVEHVKRZQLQSOHDGLQJV3ODFHDQ;
         LQRQHRIWKHER[HV,IWKHUHLVPRUHWKDQRQHEDVLVRIMXULVGLFWLRQSUHFHGHQFHLVJLYHQLQWKHRUGHUVKRZQEHORZ
         8QLWHG6WDWHVSODLQWLII-XULVGLFWLRQEDVHGRQ86&DQG6XLWVE\DJHQFLHVDQGRIILFHUVRIWKH8QLWHG6WDWHVDUHLQFOXGHGKHUH
         8QLWHG6WDWHVGHIHQGDQW:KHQWKHSODLQWLIILVVXLQJWKH8QLWHG6WDWHVLWVRIILFHUVRUDJHQFLHVSODFHDQ;LQWKLVER[
         )HGHUDOTXHVWLRQ7KLVUHIHUVWRVXLWVXQGHU86&ZKHUHMXULVGLFWLRQDULVHVXQGHUWKH&RQVWLWXWLRQRIWKH8QLWHG6WDWHVDQDPHQGPHQW
         WRWKH&RQVWLWXWLRQDQDFWRI&RQJUHVVRUDWUHDW\RIWKH8QLWHG6WDWHV,QFDVHVZKHUHWKH86LVDSDUW\WKH86SODLQWLIIRUGHIHQGDQWFRGHWDNHV
         SUHFHGHQFHDQGER[RUVKRXOGEHPDUNHG
         'LYHUVLW\RIFLWL]HQVKLS7KLVUHIHUVWRVXLWVXQGHU86&ZKHUHSDUWLHVDUHFLWL]HQVRIGLIIHUHQWVWDWHV:KHQ%R[LVFKHFNHGWKH
         FLWL]HQVKLSRIWKHGLIIHUHQWSDUWLHVPXVWEHFKHFNHG. 6HH6HFWLRQ,,,EHORZ; NOTE: federal question actions take precedence over diversity
         cases.

III.     Residence (citizenship) of Principal Parties.7KLVVHFWLRQRIWKH-6LVWREHFRPSOHWHGLIGLYHUVLW\RIFLWL]HQVKLSZDVLQGLFDWHGDERYH0DUNWKLV
         VHFWLRQIRUHDFKSULQFLSDOSDUW\

IV.      Nature of Suit.3ODFHDQ;LQWKHDSSURSULDWHER[,IWKHQDWXUHRIVXLWFDQQRWEHGHWHUPLQHGEHVXUHWKHFDXVHRIDFWLRQLQ6HFWLRQ9,EHORZLV
         VXIILFLHQWWRHQDEOHWKHGHSXW\FOHUNRUWKHVWDWLVWLFDOFOHUNVLQWKH$GPLQLVWUDWLYH2IILFHWRGHWHUPLQHWKHQDWXUHRIVXLW,IWKHFDXVHILWVPRUHWKDQ
         RQHQDWXUHRIVXLWVHOHFWWKHPRVWGHILQLWLYH

V.       Origin.3ODFHDQ;LQRQHRIWKHVL[ER[HV
         2ULJLQDO3URFHHGLQJV&DVHVZKLFKRULJLQDWHLQWKH8QLWHG6WDWHVGLVWULFWFRXUWV
         5HPRYHGIURP6WDWH&RXUW3URFHHGLQJVLQLWLDWHGLQVWDWHFRXUWVPD\EHUHPRYHGWRWKHGLVWULFWFRXUWVXQGHU7LWOH86&6HFWLRQ
         :KHQWKHSHWLWLRQIRUUHPRYDOLVJUDQWHGFKHFNWKLVER[
         5HPDQGHGIURP$SSHOODWH&RXUW&KHFNWKLVER[IRUFDVHVUHPDQGHGWRWKHGLVWULFWFRXUWIRUIXUWKHUDFWLRQ8VHWKHGDWHRIUHPDQGDVWKHILOLQJ
         GDWH
         5HLQVWDWHGRU5HRSHQHG&KHFNWKLVER[IRUFDVHVUHLQVWDWHGRUUHRSHQHGLQWKHGLVWULFWFRXUW8VHWKHUHRSHQLQJGDWHDVWKHILOLQJGDWH
         7UDQVIHUUHGIURP$QRWKHU'LVWULFW)RUFDVHVWUDQVIHUUHGXQGHU7LWOH86&6HFWLRQD'RQRWXVHWKLVIRUZLWKLQGLVWULFWWUDQVIHUVRU
         PXOWLGLVWULFWOLWLJDWLRQWUDQVIHUV
         0XOWLGLVWULFW/LWLJDWLRQ&KHFNWKLVER[ZKHQDPXOWLGLVWULFWFDVHLVWUDQVIHUUHGLQWRWKHGLVWULFWXQGHUDXWKRULW\RI7LWOH86&6HFWLRQ
         :KHQWKLVER[LVFKHFNHGGRQRWFKHFNDERYH

VI.      Cause of Action.5HSRUWWKHFLYLOVWDWXWHGLUHFWO\UHODWHGWRWKHFDXVHRIDFWLRQDQGJLYHDEULHIGHVFULSWLRQRIWKHFDXVHDo not cite jurisdictional
         statutes unless diversity. ([DPSOH86&LYLO6WDWXWH86&%ULHI'HVFULSWLRQ8QDXWKRUL]HGUHFHSWLRQRIFDEOHVHUYLFH

VII.     Requested in Complaint.&ODVV$FWLRQ3ODFHDQ;LQWKLVER[LI\RXDUHILOLQJDFODVVDFWLRQXQGHU5XOH)5&Y3
         'HPDQG,QWKLVVSDFHHQWHUWKHDFWXDOGROODUDPRXQWEHLQJGHPDQGHGRULQGLFDWHRWKHUGHPDQGVXFKDVDSUHOLPLQDU\LQMXQFWLRQ
         -XU\'HPDQG&KHFNWKHDSSURSULDWHER[WRLQGLFDWHZKHWKHURUQRWDMXU\LVEHLQJGHPDQGHG

VIII. Related Cases.7KLVVHFWLRQRIWKH-6LVXVHGWRUHIHUHQFHUHODWHGSHQGLQJFDVHVLIDQ\,IWKHUHDUHUHODWHGSHQGLQJFDVHVLQVHUWWKHGRFNHW
      QXPEHUVDQGWKHFRUUHVSRQGLQJMXGJHQDPHVIRUVXFKFDVHV

Date and Attorney Signature.'DWHDQGVLJQWKHFLYLOFRYHUVKHHW
